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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,

                     v.                                                  5:17-CR-228
                                                                            (FJS)
CHARLES TAN,

                              Defendant.
_______________________________________________

APPEARANCES                                        OF COUNSEL

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SCULLIN, Senior Judge

                          MEMORANDUM-DECISION AND ORDER

                                      I. INTRODUCTION

       Defendant is charged in a three-count Indictment. See Dkt. No. 1. Specifically, the

Government charges that, on or about February 5, 2015, in Cortland County, Defendant

              with intent to commit therewith an offense punishable by
              imprisonment for a term exceeding one year, and with knowledge and
              reasonable cause to believe that an offense punishable by
              imprisonment for a term exceeding one year was to be committed
              therewith, received a firearm and ammunition in interstate commerce,
              that is [Defendant] received a Remington Model 870 12 Gauge
              Shotgun with serial number RS50700V, Winchester 12 Gauge
              Shotgun ammunition, and Federal 12 Gauge Shotgun ammunition
              with intent to commit, among other felonies, Murder in the Second
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               Degree, Manslaughter in the First Degree, and Manslaughter in the
               Second Degree, in violation of New York Penal Law Sections
               125.25(1), 125.20(1), and 125.15(1), respectively, and willfully
               caused another to commit such acts, in violation of Title 18, United
               States Code, Sections 924(b) and 2(b).

See Dkt. No. 1 at Count 1.

       In addition, in Count 2, the Government charged that, on or about February 5, 2015, in

Cortland County, Defendant,

               in connection with the acquisition of a firearm from a licensed dealer
               of firearms, aided, abetted, counseled, commanded, induced,
               procured, and willfully caused another to knowingly make a false and
               fictitious written statement to a dealer of firearms intended and likely
               to deceive such dealer with respect to a fact material to the lawfulness
               of the sale under the provisions of Chapter 44 of Title 18 of the
               United States Code, that is the identity of the actual purchaser of a
               Remington Model 870 12 Gauge Shotgun with serial number
               RS50700V from a Walmart store in Cortland, New York, in violation
               of Title 18, United States Code, Sections 922(a)(6), 924(a)(2), and
               2(a) & (b).

See id. at Count 2.

       Finally, in Count 3, the Government charged that, on or about February 5, 2015, in Cortland

County, Defendant

               aided, abetted, counseled, commanded, induced, procured, and
               willfully caused another to knowingly make a false statement and
               representation with respect to information required by Chapter 44 of
               Title 18 of the United States Code to be kept in the records of a
               person licensed under that chapter, that is the identity of the actual
               purchaser of a Remington Model 870 12 Gauge Shotgun with serial
               number RS50700V from a Walmart store in Cortland, New York, in
               violation of Title 18, United States Code, Sections 924(a)(1)(A) and
               2(a) and (b).




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See id. at Count 3.1

       Pending before the Court is Defendant's omnibus motion, in which he seeks the following

relief: (1) inspection of jury lists; (2) suppression of any and all of his alleged statements to law

enforcement or, in the alternative, an evidentiary hearing regarding any such statements; (3) a

hearing pursuant to Bourjaily v. United States, 483 U.S. 171 (1987); (4) disclosure of the identity of

the Government's informants; (5) private voir dire of jurors; (6) discovery/inspection pursuant to

Rule 16 of the Federal Rules of Criminal Procedure; (7) statement pursuant to Rule 12(b)(4) of the

Federal Rules of Criminal Procedure; (8) disclosure of Rule 404(b) evidence; (9) disclosure of Rule

608 and Rule 609 evidence; (10) release of Brady material; (11) production of Jencks Act material;

and (12) permission to bring further motions. See Dkt. No. 21 at 2.2



                                           II. DISCUSSION

A.     Defendant's request for inspection of jury lists

       Defendant asserts that he "has a constitutional and statutory right to a jury chosen without

discrimination from a fair cross-section of the community." See Dkt. No. 21 at 14 (citing Glasser v.

U.S., 315 U.S. 60 (1942); 28 U.S.C. § 1861). Furthermore, Defendant contends that "[t]he

provisions of the Jury Selection and Service Act of 1968 allow [a] defendant an unqualified right to

inspect jury lists during the preparation of a motion to challenge compliance with the grand jury

selection procedure." See id. (citing Test v. U.S., 420 U.S. 28 (1975); 28 U.S.C. § 1867(f)).


        1
        In addition to these three counts, the Indictment contains a forfeiture allegation. See
Dkt. No. 1 at Forfeiture Allegation.
        2
         All of the Court's references to page numbers are to the page numbers that the Court's
electronic filing system ("CM/ECF") generated.

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Therefore, pursuant to 28 U.S.C. § 1861, "Defendant requests [that] the Court . . . order the [Jury

Administrator] to allow [his counsel] or his [counsel's] designated agent(s) to inspect, reproduce,

and copy any and all records or papers used in the selection of the grand jury that indicted . . .

[D]efendant." See id. Defendant argues that "[i]nspection of these records will permit [him] to

determine whether the jury panel was selected, and treated, in accordance with the law." See id.

Finally, "Defendant requests similar access to the records used, or to be used, in the selection of the

petit jury in this case," if the Court schedules the case for trial. See id.

        The Government objects to this request, arguing that "Defendant [has] fail[ed] to articulate

with any specificity the reasons for and justification for this extraordinary request." See Dkt. No.

25 at 10.

        Pursuant to 28 U.S.C. § 1861, "all litigants in Federal courts entitled to trial by jury shall

have the right to grand and petit juries selected at random from a fair cross section of the

community in the district or division wherein the court convenes." 28 U.S.C. § 1861. Furthermore,

28 U.S.C. § 1867(f) provides, in pertinent part, that

                [t]he contents of records or papers used by the jury commission or
                clerk in connection with the jury selection process shall not be
                disclosed, except pursuant to the district court plan or as may be
                necessary in the preparation or presentation of a motion ["on the
                ground of substantial failure to comply with the provisions of this title
                in selecting the grand or petit jury"] . . . The parties in a case shall be
                allowed to inspect, reproduce, and copy such records or papers at all
                reasonable times during the preparation and pendency of such a
                motion. . . .

28 U.S.C. § 1867(f).

        In Test v. United States, 420 U.S. 28 (1975) (per curiam), the Supreme Court held that

§ 1867(f) made "clear that a litigant has essentially an unqualified right to inspect jury lists." Id. at


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30 (footnotes omitted). The Court explained that, "without inspection, a party almost invariably

would be unable to determine whether he has a potentially meritorious jury challenge." Id. Thus,

the Court concluded that "an unqualified right to inspection is required not only by the plain text of

the statute, but also by the statute's overall purpose of insuring 'grand and petit juries selected at

random from a fair cross section of the community.'" Id. (quoting 28 U.S.C. § 1861).

          Although the right to inspect jury lists may be "unqualified," courts have concluded that the

right is not "limitless." See, e.g., United States v. Bundy, No. 2:16-cr-00046-GMN-PAL, 2017 WL

119747, *2 (D. Nev. Jan. 11, 2017) (finding that the "'right to discovery by the Act and Test is not

limitless'" (quoting United States v. Diaz, 236 F.R.D. 470, 482 (N.D. Cal. 2006)). As the court in

Bundy explained, "'Defendants are entitled only to discovery "necessary" to prepare a motion

alleging substantial noncompliance with the Act's jury selection procedures.'" Id. (quoting [Diaz,

236 F.R.D.] at 482-83 (finding that names and other personal information are not ordinarily subject

to disclosure to criminal defendants because disclosure of jurors' personal and private information

cannot assist a defendant in the preparation of his motion and is not necessary under the Act)). The

Bundy court further noted that, although "[t]he Ninth Circuit ha[d] not addressed what information a

party [wa]s entitled to receive in a request for information under the Act[,] . . . the Sixth Circuit

ha[d] held that a defendant's unqualified right to inspection was 'satisfied by disclosure of the

master lists and the relevant demographic data about the general pool from which the specific grand

jurors were selected.'" Id. (quoting United States v. McLernon, 746 F.2d 1098, 1123 (6th Cir.

1984)).

          Finding that the defendant had not specified what he wanted and had simply asked for all

records of grand jury selection, the Bundy court concluded that his request was "facially overbroad


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and [that it] present[ed] logistical and security problems." Id. Therefore, the court granted his

motion "to the extent the Jury Administrator SHALL MAIL a copy of the District of Nevada's plan

for random jury selection, and most recent Report on Operation of the Jury Selection Plan, which

were prepared pursuant to 28 U.S.C. § 1863 to [the defendant]." Id.

       Likewise, when faced with a similar request, the court in United States v. Sorensen, No.

2:99-CR-441 TS, 2007 WL 2273672 (D. Utah Aug. 7, 2007), provided the defendant with "a copy

of the Amended Plan for the Random Selection of Grand and Petit Jurors adopted by the United

States District Court for the District of Utah[.]" Id. at *1; see also United States v. Frye, Criminal

Action No. 04-331, 2005 WL 8148160, *1 (E.D. La. Dec. 5, 2005) (finding that the defendant's

request for an order "instruct[ing] the clerk of the court to produce any statistics that exist

concerning the racial and ethnic makeup of jury venires for criminal trials in the Eastern District of

Louisiana for the five-year period before September 1, 2005 . . . ha[d] been made in order to

evaluate and prepare a potential challenge to jury selection procedures" and, therefore, ordering

"that defendant be given the opportunity to inspect such records and statistics as the clerk's office

currently possesses concerning the historical racial and ethnic makeup of the pool of potential jurors

in the Eastern District of Louisiana").

       As the Government correctly points out, in this case, Defendant has not indicated why he

believes that the selection of the grand jury panel did not comply with the law. Rather, he asserts

only that "[i]nspection of these records will permit [him] to determine whether the jury panel was

selected, and treated, in accordance with the law." See Dkt. No. 21 at 14. Despite the non-specific

nature of Defendant's request, the Court grants his request to the extent that the Court will direct

the Jury Administrator to allow Defendant's counsel or his counsel's designated agent(s) to inspect,


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reproduce, and copy the master lists and relevant demographic data about the general pool from

which the specific grand jurors were selected during regular business hours. In addition, the Court

will direct the Clerk of the Court to provide Defendant's counsel with a copy of this District's plan

"for Random Selection of Grand and Petit Jurors[.]" See L.R. 47.1; www.nynd.uscourts.gov. With

regard to Defendant's request for similar information regarding the selection of a petit jury, should

the case proceed to trial, the Court reserves decision on that part of his request at this time. Finally,

the Court denies Defendant's request for inspection of jury lists in all other respects.



B.     Defendant's request to suppress any and all of his alleged statements to law
       enforcement or, alternatively, an evidentiary hearing regarding any such
       statements

       Defendant asserts that, although the Government has not yet filed a Rule 12(b)(4) notice, he

believes there may be a statement that the Government intends to submit as evidence as his post-

arrest statement. See Dkt. No. 21 at 15-16. Defendant seeks "an Order suppressing the use at trial

of any and all statements attributed to [him]." See id. at 16. In support of his request, Defendant

argues that law enforcement did "not advise [him] of his rights at any time"; "he did not make a

knowing, intelligent, and voluntary waiver of his rights prior to the time he was questioned"; and

his "right to counsel and other constitutional rights have been violated." See id. Therefore, he

contends that the Court should grant his request to suppress any statement he allegedly made; or, in

the alternative, the Court should hold a hearing "to determine the facts surrounding the taking of

[those] statements." See id.

       In response, the Government states that, "[o]n October 3, 2017, [it] provided written notice

to [Defendant] that [he] had made statements to law enforcement and that the [G]overnment


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intended to introduce [those] statements at trial." See Dkt. No. 25 at 12 (citing Docket No. 14,

Discovery Disclosure Statement, at page 2). Furthermore, the Government asserts that it has

provided Defendant with discovery materials, among which are reports and documents that contain

in sum and substance the statement that Defendant made to law enforcement on February 9, 2015,

at Defendant's parents' home in Pittsford, New York. See id. (citing Docket No. 14, Discovery

Disclosure Statement, at page 2). Finally, although the Government contends that Defendant's

request to suppress his statements is without merit and that, therefore, the Court should deny it, see

id., the Government consents to the Court holding a pre-trial hearing, where the Government will

produce evidence and witnesses to demonstrate that the police lawfully obtained Defendant's

statements to them, see id. at 13.

       A defendant who requests a suppression hearing has the burden of showing that disputed

issues of material fact exist. See United States v. Rush, 352 F. Supp. 2d 383, 386 (E.D.N.Y. 2005)

(citation omitted). To create an issue of fact, a defendant must submit a sworn affidavit from

someone who has personal knowledge of the underlying facts. See United States v. Dewar, 489 F.

Supp. 2d 351, 359 (S.D.N.Y. 2007). If a defendant's "'moving papers [do] not state sufficient facts

which, if proven, would . . . require the granting of the relief requested[,]'" the court is not required

to hold an evidentiary hearing. Rush, 352 F. Supp. 2d at 386 (quotation omitted). Nor is a court

required to hold such a hearing if the "'defendant's statements are general, conclusory or based on

conjecture.'" Id. (quotation omitted).

       In this case, Defendant did not submit an affidavit based on personal knowledge to create an

issue of fact regarding his claims that law enforcement did not advise him of his rights at any time;

that he did not make a knowing, intelligent, and voluntary waiver of his rights prior to the time he


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was questioned; and that his right to counsel and other constitutional rights were violated. In fact,

Defendant did not even state the nature or contents of any of the statements he allegedly made to

law enforcement, which he now seeks to suppress. Nor did he describe the circumstances under

which he had provided those alleged statements to law enforcement, e.g., how or why the

environment to which law enforcement subjected him when they questioned him was in any way

coercive and intimidating or whether, at the time law enforcement questioned him, he was under

arrest or in custody.

          Nonetheless, despite Defendant's failure to meet his burden of proof, because the

Government consents to the Court holding an evidentiary hearing, the Court grants Defendant's

request for such a hearing. Furthermore, due to the Court's schedule, the Court will refer this matter

to Magistrate Judge Baxter to conduct said evidentiary hearing and, thereafter, "submit . . . [his]

proposed findings of fact and recommendations," 28 U.S.C. § 636(b)(1)(B), to this Court for its

review.



C.        Defendant's request for a hearing pursuant to Bourjaily v. United States, 483
          U.S. 171 (1987)

          Defendant asserts that, upon information and belief, the Government may seek to introduce

at trial statements of an alleged co-conspirator pursuant to Rule 801(d)(2)(E) of the Federal Rules of

Evidence. See Dkt. No. 21 at 34. Therefore, pursuant to Bourjaily v. United States, 483 U.S. 171

(1987), Defendant "request[s] that the Court hold a pretrial conspiracy hearing to assess the

foundation for the introduction of any statements [that the alleged co-conspirators made,] which the

Government will seek to introduce against [him] at trial." See id.

          The Government objects to this request, arguing that no such hearing is required in this case.

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See Dkt. No. 25 at 17. The Government presumes that Defendant is referring to W1 and the

conversations that W1 had with Defendant "regarding discussions leading up to the actual purchase

of the shotgun in this case by W1 for . . . and on behalf of [D]efendant . . . ." See id. The

Government acknowledges that it will call W1 as a "witness to testify about in person conversations

between [him and Defendant] regarding the purchase of the shotgun." See id. at 17-18.

Furthermore, the Government asserts that W1 will testify about the conversations that he personally

had with Defendant and will be subject to Defendant's cross-examination of him about those

conversations. See id. at 18. The Government argues that all statements that Defendant made

"directly to W1 are admissible at trial against [D]efendant . . . as admissions by a defendant and are

therefore not hearsay pursuant to the [F]ederal [R]ules of [E]vidence." See id.

       Finally, the Government argues that this case does not present a scenario in which the

Government calls some third witness co-conspirator "to testify about conversations that occurred

between conspirators W1 and [D]efendant . . . but which were relayed to the third witness

conspirator in the course of an overall conspiracy [among] all three persons." See id. Rather, "W1,

who will testify, had direct conversations with [D]efendant[; and, therefore, a] co-conspirator

hearing has no application in this case[.]" See id.

       In Bourjaily v. United States, 483 U.S. 171 (1987), the Supreme Court

               granted certiorari to answer three questions regarding the admission
               of statements under Rule 801(d)(2)(E): (1) whether the court must
               determine by independent evidence that the conspiracy existed and
               that the defendant and the declarant were members of this conspiracy;
               (2) the quantum of proof on which such determinations must be
               based; and (3) whether a court must in each case examine the
               circumstances of such a statement to determine its reliability.

Id. at 173 (citation omitted).


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        In Bourjaily, an informant, Clarence Greathouse, who was working for the FBI, arranged to

sell a kilogram of cocaine to Angelo Lonardo. Lonardo, in turn, agreed that he would find

individuals to distribute the drug. When the sale became imminent, Lonardo stated in a tape-

recorded telephone conversation that he had a "gentleman friend" who had some questions to ask

about the cocaine. In a subsequent telephone call, Greathouse spoke to the "friend" about the

quality of the drug and the price. Greathouse then spoke again with Lonardo, and the two arranged

the details of the purchase. They agreed that the sale would take place in a designated hotel parking

lot, and Lonardo would transfer the drug from Greathouse's car to the "friend," who would be

waiting in the parking lot in his own car. Greathouse proceeded with the transaction as planned,

and the FBI agents arrested Lonardo and Bourjaily immediately after Lonardo placed a kilogram of

cocaine into Bourjaily's car in the hotel parking lot.

        The government charged Bourjaily with conspiring to distribute cocaine and possession of

cocaine with intent to distribute. See id. at 174. The government introduced, over Bourjaily's

objection, Lonardo's telephone statements regarding the participation of the "friend" in the

transaction. See id. The Court noted that

                [t]he District Court [had] found that, considering the events in the
                parking lot and Lonardo's statements over the telephone, the
                Government had established by a preponderance of the evidence that
                a conspiracy involving Lonardo and [Bourjaily] existed and that
                Lonardo's statements over the telephone had been made in the course
                of and in furtherance of the conspiracy.

Id. (citation omitted).

Thus, the district court "held that Lonardo's out-of-court statements satisfied Rule 801(d)(2)(E) and

were not hearsay." Id.

        As the Government correctly argues, Bourjaily is not applicable to the facts of this case. In

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Bourjaily, the statements at issue were part of a telephone conversation between two people, neither

of whom was the defendant against whom the government sought to introduce the statement, on the

theory that the telephone statements were made in the course of and in furtherance of a conspiracy.

Rather, in this case, the Government seeks to introduce statements through W1 that were part of the

conversations that W1 personally had with Defendant. In other words, there is no third party

involved and, therefore, no need for a pretrial conspiracy hearing.

       Accordingly, for the above-stated reasons, the Court denies Defendant's request for a

Bourjaily hearing.



D.     Defendant's other requests

       With the exception of Defendant's request to file further motions, which the Court grants to

the extent that any such motions become necessary, the Court denies the remainder of Defendant's

requests, none of which require much discussion, for the reasons stated below.

       1. Defendant's request that the Government disclose the identity of its informants
       to him

       The Court denies this request in light of the Government's assurances to the Court that (1) it

"is not aware of any informants in this case"; (2) that, if Defendant is referring to W1, Defendant

already knows his identity; and (3) that it will disclose to Defendant "[a]ll Giglio materials,

including any criminal history or benefits conferred upon W1 and as it relates to W1, . . . well

[before] trial pursuant to the Court's criminal pre-trial order." See Dkt. No. 25 at 10.




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       2. Defendant's request for private voir dire of jurors

       The Court denies this request. The Court's practice in every case is to ask members of the

jury panel personal and sensitive questions at sidebar, outside the hearing of other members of the

panel. Therefore, "private" voir dire of individual jurors is unnecessary.



       3. Defendant's request for discovery and inspection pursuant to Rule 16 of the
       Federal Rules of Criminal Procedure

       The Court denies this request in light of the Government's assurances to the Court that it has

provided Defendant with all Rule 16 materials in its possession and will continue to do so and that

it recognizes its continuing duty to provide Rule 16 materials to Defendant. See Dkt. No. 25 at 15.



       4. Defendant's request that the Government provide him with a statement pursuant
       to Rule 12(b)(4) of the Federal Rules of Criminal Procedure

       The Court denies this request in light of the Government's assurances to the Court that it has

already provided Defendant with notice that he made statements to the first officers on the scene on

February 9, 2015; that it has provided Defendant with the police reports that summarize the oral

statements that he made to police on February 9, 2015; and that it has provided Defendant with

reports and records itemizing and describing all of the tangible items/evidence that the police

collected, which are available for Defendant to view and inspect at ATF or the Monroe County

Sheriff's Office. See Dkt. No. 25 at 15.




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       5. Defendant's request that the Government disclose evidence under Rule 404(b) of
       the Federal Rules of Evidence

       The Court denies this request in light of the Government's assurances to the Court that it is

not aware of any Rule 404(b) material or evidence at this time and that it recognizes its continuing

duty to disclose any Rule 404(b) materials that come to its attention and which it intends to offer at

trial. See Dkt. No. 25 at 16.



       6. Defendant's request that the Government disclose material pursuant to Rules
       608 and 609 of the Federal Rules of Evidence

       The Court denies this request in light of the Government's assurances to the Court that it is

not aware of any Rule 608 or Rule 609 information or evidence at this time related either to any

defense witnesses or to Defendant. See Dkt. No. 25 at 16.



       7. Defendant's request for Brady material

       The Court denies this request in light of the Government's assurances to the Court that it is

not aware of any Brady material at this time and that it recognizes that its duty to disclose Brady

material is ongoing and that it will disclose any Giglio material related to any witness who it calls at

trial prior to trial if such material exists. See Dkt. No. 25 at 16-17.



       8. Defendant's request for Jencks material

       The Court denies this request in light of the Government's assurances to the Court that it has

already provided Defendant with considerable Jencks material and that it voluntarily has and will

continue to provide Defendant with early Jencks/3500 materials. See Dkt. No. 25 at 17.


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                                          III. CONCLUSION

       Having reviewed the entire record in this matter, the parties' submissions and the applicable

law, and for the above-stated reasons, the Court hereby

       ORDERS that Defendant's omnibus motion, see Dkt. No. 21, is GRANTED in part,

DENIED in part, and RESERVED in part; and the Court further

       ORDERS that Defendant's request for inspection of jury lists is GRANTED in part,

DENIED in part, and RESERVED in part. The Court directs the Jury Administrator to allow

Defendant's counsel or his counsel's designated agent(s) to inspect, reproduce, and copy the master

lists and relevant demographic data about the general pool from which the specific grand jurors were

selected during regular business hours; and the Court further directs the Clerk of the Court to

provide Defendant's counsel with a copy of this District's plan "for Random Selection of Grand and

Petit Jurors." See L.R. 47.1; www.nynd.uscourts.gov. With regard to Defendant's request for

similar information regarding the selection of a petit jury, should the case proceed to trial, the Court

reserves decision on that part of his request at this time. Finally, the Court denies Defendant's

request for the inspection of jury lists in all other respects; and the Court further

       ORDERS that Defendant's request to suppress any and all of the statements that he allegedly

made to law enforcement or, in the alternative, an evidentiary hearing regarding such statements is

GRANTED insofar as the Court refers this matter to Magistrate Judge Baxter to conduct an

evidentiary hearing and, thereafter, to "submit . . . [his] proposed findings of fact and

recommendations," 28 U.S.C. § 636(b)(1)(B), to this Court for its review; and the Court further

       ORDERS that Defendant's request for a hearing pursuant to Bourjaily v. United States, 483

U.S. 171 (1987), is DENIED; and the Court further


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          ORDERS that Defendant's request that the Government disclose to him the identity of its

informants is DENIED; and the Court further

          ORDERS that Defendant's request for private voir dire of jurors is DENIED; and the Court

further

          ORDERS that Defendant's request for discovery/inspection pursuant to Rule 16 of the

Federal Rules of Criminal Procedure is DENIED; and the Court further

          ORDERS that Defendant's request that the Government provide him with a statement

pursuant to Rule 12(b)(4) of the Federal Rules of Criminal Procedure is DENIED; and the Court

further

          ORDERS that Defendant's request that the Government disclose evidence under Rule 404(b)

of the Federal Rules of Evidence is DENIED; and the Court further

          ORDERS that Defendant's request that the Government disclose material pursuant to Rule

608 and Rule 609 of the Federal Rules of Evidence is DENIED; and the Court further

          ORDERS that Defendant's request for Brady material is DENIED; and the Court further

          ORDERS that Defendant's request for Jencks material is DENIED; and the Court further

          ORDERS that Defendant's request for permission to bring further motions is GRANTED

insofar as such motions become necessary.

IT IS SO ORDERED.

Dated: March 5, 2018
       Syracuse, New York




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